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   Peter Fimrite, At San Quentin, 647
  Condemned Killers Wait to Die in the
  Most Populous Execution Antechamber
   in the United States, San Francisco
     Chronicle, November 20, 2005




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Row, built in 1934. Called North-Segregation, this quiet cell block houses the privileged class, those inmates
who get along with other prisoners and don't cause trouble.

Williams is a North-Seg resident. So is Richard Wade Farley, the bespectacled 57-year-old convicted killer of
seven people during a 1988 rampage in Sunnyvale.

"This is my retirement plan," Farley said wryly, as he sat behind a wire mesh fence playing chess in the cell
block hallway with another inmate last year.

About 415 less fortunate condemned inmates live in the East Block, a crumbling, leaky maze of a place built
in 1927. It is a giant five-story cage, echoing with the incessant chatter and shrieking cacophony of prison.

David Carpenter, the infamous "Trailside Killer," is an East Block inhabitant. At 75, Carpenter, a convicted
serial killer who terrorized hiking trails in Marin and Santa Cruz counties in the early 1980s, is the second-
oldest prisoner on the row.

"We have people here who slit their children's throats, banged their kids' heads against the wall and killed
them," Crittendon said, describing the types of people who inhabit the cells.

But even among the condemned, moral distinctions are made.

When Robert Alton Harris was being led away to his execution in 1992, Crittendon said, the inmates yelled
"baby killer," and taunted him with references to his decision to eat the unfinished hamburgers left behind by
his murder victims.

The prison code exists even in the Adjustment Center, where the "worst of the worst" are held under heavy
guard and in isolation. These inmates get their exercise in 8-by-10-foot cages watched over by gun-wielding
guards.

The Adjustment Center is where Richard Allen Davis has lived since he was convicted for the kidnap and
murder of 12-year-old Polly Klaas in Petaluma in 1993. Davis has been assaulted and spat upon by other
inmates at least three times. Besides killing a child, many inmates blame Davis for the three strikes law.

"He's very well aware that any inmate, if they get a chance, will attempt to kill him," said Lt. Michael Barker,
who is in charge of the unit.

Richard Ramirez, the satanic killer known as the "Night Stalker," is also in the Adjustment Center, where he
has continued to receive fan mail from adoring women even while exposing himself to children in the prison's
visiting area, according to Barker.

Details like that quickly spread among the inmates on Death Row, where there are few secrets. Prison
officials marvel at the ability of inmates to pass on even the tiniest bits of overheard conversation from
guards, prisoners and guests.

"The inmate network system is incredible," Barker said. "They are ingenious in the way they get information."

Despite the bleakness, humanity is still evident on Death Row. The inmates spend most of their time reading,
playing chess or basketball, going to church or taking college courses.

"I have a lot of hope," said 39-year-old double murderer Richard Moon during a rare tour of Death Row last
year. "They could abolish the death penalty."

Many condemned inmates actually have Web sites from which they solicit pen pals, including Moon, who
claims on his Web site to have found God and been forgiven.

San Quentin was completed in 1854 as California's first penitentiary. It was built on land purchased for
$10,000 just 30 years after a Licatuit Indian chief named Quentin was defeated there by Mexican soldiers.

The rudimentary prison, complete with a dungeon and whipping post, was soon overcrowded with 300
swindlers and cutthroats drawn to San Francisco by the Gold Rush.




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In 1891, San Quentin and Folsom prisons were officially declared the state's designated execution sites.

The first hanging at San Quentin was in 1893. A total of 215 people were hanged there until 1937, when the
Legislature approved lethal gas in place of the noose as the state's official method of execution. From then
on, San Quentin was the only place in California where executions could occur.

During the next six decades, 196 prisoners were gassed. That unfortunate group includes one of the inmates
who helped weld the gas chamber together when it arrived in pieces from the manufacturer 68 years ago.

The inmate, who welded the chamber's roof and side walls, was released and eventually got himself arrested
for murder. In 1945, he was marched into the chamber he had helped build, his expert welds plainly visible
as he took his final breath, Crittendon said.

It wasn't long after that execution that a double-jointed inmate wriggled free of his restraints inside the gas
chamber. Crittendon said the warden, fearing what might happen next, ordered the execution to continue. As
horrified witnesses watched, the man ran around frantically inside the chamber trying to escape the lethal fog
before he finally collapsed and died, curled up in a corner, Crittendon said.

Nine people have been executed by lethal injection since 1995, when the gas chamber was ruled cruel and
unusual punishment. But "the big jab," as the inmates call it, is still carried out inside the gas chamber, its
infamous welds visible to this day.

Many of San Quentin's original buildings are still in use, including the old dungeon, where the torturous
isolation cells are now used for storing evidence.

Corrections officials insist the prison is so dilapidated and overcrowded that a new Death Row must be built if
California is going to continue holding condemned inmates at San Quentin.

As it is, the inmates are so dispersed around the prison that double or triple escorts are sometimes needed to
move inmates from one place to another, often around blind corners and through less-secure areas,
increasing the likelihood of trouble.

A few years ago, gang members were foiled in an elaborate plan to take over the Adjustment Center. One of
the leaders, Paul "Roscoe" Tuilaepa, reportedly told prison officials after he was captured that the intent was
never to escape. "We just wanted to kill every guard we could get our hands on," he said.

Safety measures have been taken since then, such as the implementation of an inmate classification system
and a program that places prisoners in compatible groups during exercise.

Although the prison is safer than it was in the 1970s and 1980s, according to Crittendon, death is always
lurking.

"Human life is very fragile," he said, defining the one overriding fact of life on Death Row.
Caption: PHOTO (10)
(1) A prisoner on Death Row, photographed during a rare press tour last year, heads back to his cell from an
exercise area under the careful watch of prison guards., (2) The beautiful bayside setting of San Quentin
State Prison in Marin County has created opposition to building an updated facility there., (3-4) Left: The
rogues gallery identifies Adjustment Center inmates, considered the “worst of the worst.” Right: East Block,
five crumbling tiers of cells, is in the poorest condition., (5) For security reasons, prisoners are handcuffed
and accompanied by several guards when they leave their cells. A plan by gang members to take over the
Adjustment Center a few years ago was foiled., (6) Adjustment Center inmates — the most isolated men on
Death Row — can only exercise in individual cages under the watch of armed guards., (5-6) For security
reasons, prisoners are handcuffed and accompanied by several guards when they leave their cells. A plan by
gang members to take over the Adjustment Center a few years ago was foiled., (7-8) Left: Chess players
must call out their moves to opponents on other tiers. Right: Adjustment Center inmates are required to enter
and leave 8-by-10-foot exercise cages in handcuffs. , (9) While prisoners typically spend time alone in their
cells, some are allowed to socialize during certain activities such as exercise (above), church or college
courses. Some receive no such benefit., (10) An inmate hangs around a rooftop exercise area while others
work out. PHOTOGRAPHS BY PENNI GLADSTONE
Memo: E-mail Peter Fimrite at pfimrite@sfchronicle.com.




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